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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                    CRIMINAL ACTION NO. 1:17-cv-00506

ISABEL FITZGERALD, et al.,

                              Defendants.

                                              ORDER

        The Court will hold a telephonic status conference in the above-case on May 21, 2020, at

4:00 p.m. The defendants are welcome to waive personal appearance on the call through counsel,

but may also listen in if they so choose. The call-in information for the call is as follows: 703-724-

3100, then dial 4002661# to be placed on hold pending the start of the call.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                             ENTER:         May 19, 2020




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